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                     EXHIBIT A
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                     EXHIBIT 1
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                                            February 18, 2019

VIA ELECTRONIC MAIL

ATTN: FOIA Office
Bureau of Industry and Security
U.S. Department of Commerce
E-mail: EFOIARequest@bis.doc.gov

          Re:     Freedom of Information Act Request

Dear FOIA Officer:

        I write on behalf of Cause of Action Institute (“CoA Institute”), a 501(c)(3) nonpartisan
government oversight organization that uses investigative, legal, and communications tools to
educate the public about how government accountability, transparency, and the rule of law
protect individual liberty and economic opportunity. 1

       Pursuant to the Freedom of Information Act (“FOIA”), 5 U.S.C.§ 552, CoA Institute
hereby requests a copy of the Commerce Secretary’s final report to the President regarding
Section 232 National Security Investigation of Imports of Automobiles, Including Cars, SUVs,
Vans and Light Trucks, and Automotive Parts. 2

          Request for a Public Interest Fee Waiver

        CoA Institute requests a waiver of any and all applicable fees. FOIA and applicable
regulations provide that the agency shall furnish requested records without or at reduced charge
if “disclosure of the information is in the public interest because it is likely to contribute
significantly to public understanding of the operations or activities of the government and is not
primarily in the commercial interest of the requester.” 3 In this case, the requested records
unquestionably shed light on the “operations or activities of the government,” as they reveal the
reasoning behind increasing taxes on American consumers through tariffs.

        CoA Institute has both the intent and ability to make the results of this request available
to a reasonably broad public audience through various media. Its staff has significant experience
and expertise in government oversight, investigative reporting, and federal public interest

1
    See CAUSE OF ACTION INSTITUTE, About, www.causeofaction.org/about/.
2
  Bureau of Industry and Security. Section 232 National Security Investigation: Imports of Automobiles and
Automotive Parts Survey, available at: https://www.bis.doc.gov/index.php/autos232 (last visited Feb. 15,
2019); Bureau of Industry and Security. Section 232 Investigations: The Effect of Imports on the National
Security, available at: https://www.bis.doc.gov/index.php/other-areas/office-of-technology-evaluation-
ote/section-232-investigations (last visited Feb. 15, 2019).
3
  5 U.S.C. § 552(a)(4)(A)(iii); see also Cause of Action v. Fed. Trade Comm’n, 799 F.3d 1108, 1115-19 (D.C.
Cir. 2015) (discussing proper application of public-interest fee waiver test).
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litigation. These professionals will analyze the information responsive to this request, use their
editorial skills to turn raw materials into a distinct work, and share the resulting analysis with the
public, whether through the Institute’s regularly published online newsletter, memoranda,
reports, or press releases.4 In addition, as CoA Institute is a non-profit organization as defined
under Section 501(c)(3) of the Internal Revenue Code, it has no commercial interest in making
this request.

        Request To Be Classified as a Representative of the News Media

         For fee status purposes, CoA Institute also qualifies as a “representative of the news
media” under FOIA.5 As the D.C. Circuit recently held, the “representative of the news media”
test is properly focused on the requestor, not the specific FOIA request at issue. 6 CoA Institute
satisfies this test because it gathers information of potential interest to a segment of the public,
uses its editorial skills to turn raw materials into a distinct work, and distributes that work to an
audience. Although it is not required by the statute, CoA Institute gathers the news it regularly
publishes from a variety of sources, including FOIA requests, whistleblowers/insiders, and
scholarly works. It does not merely make raw information available to the public, but rather
distributes distinct work products, including articles, blog posts, investigative reports,
newsletters, and congressional testimony and statements for the record. 7 These distinct works

4
  See also Cause of Action, 799 F.3d at 1125-26 (holding that public interest advocacy organizations may
partner with others to disseminate their work).
5
  5 U.S.C. § 552(a)(4)(A)(ii)(II).
6
  See Cause of Action, 799 F.3d at 1121.
7
  See, e.g., COA INSTITUTE, EVADING OVERSIGHT: THE ORIGINS AND IMPLICATIONS OF THE IRM CLAIM THAT
ITS RULES DO NOT HAVE AN ECONOMIC IMPACT (Jan. 2018), http://coainst.org/2mgpYAu; CoA Institute,
Documents Reveal Special Interest Groups Lobbied HUD for Mortgage Settlement Funds (Aug. 8, 2017),
http://coainst.org/2yLaTyF; CoA Institute, The GSA Has No Records on its New Policy for Congressional
Oversight Requests (July 26, 2017), http://coainst.org/2eHooVq; COA INSTITUTE, SENSITIVE CASE REPORTS:
A HIDDEN CAUSE OF THE IRS TARGETING SCANDAL (Mar. 2017), http://coainst.org/2y0fbOH; CoA Institute,
Sec. Vilsack followed ethics guidelines when negotiating his future employment, (Feb. 3, 2017),
http://coainst.org/2mJljJe; COA INSTITUTE, INVESTIGATIVE REPORT: PRESIDENTIAL ACCESS TO TAXPAYER
INFORMATION (Oct. 2016), http://coainst.org/2d7qTRY; James Valvo, There is No Tenth Exemption (Aug. 17,
2016), http://coainst.org/2doJhBt; COA INSTITUTE, MEMORANDUM: LEGAL ANALYSIS OF FORMER SECRETARY
OF STATE HILLARY CLINTON’S USE OF A PRIVATE SERVER TO STORE EMAIL RECORDS (Aug. 24, 2015),
http://coainst.org/2eXhXe1; CoA Institute, CIA too busy for transparency (Aug. 11, 2016),
http://coainst.org/2mtzhhP; Hearing on Revisiting IRS Targeting: Progress of Agency Reforms and
Congressional Options Before the Subcomm. on Oversight, Agency Action, Fed. Rights & Fed. Courts of the S.
Comm. on the Judiciary, 114th Cong. (Aug. 5, 2015) (statement of Erica L. Marshall, Counsel, CoA Inst.),
http://coainst.org/2mJC8DH; Hearing on Watchdogs Needed: Top Government Investigator Positions Left
Unfilled for Years Before the S. Comm. on Homeland Sec. & Gov’t Affairs, 114th Cong. (June 3, 2015)
(statement of Daniel Z. Epstein, Exec. Dir., CoA Inst.), http://coainst.org/2mrwHr1; Hearing on Ongoing
Oversight: Monitoring the Activities of the Justice Department’s Civil, Tax and Environmental and Natural
Resources Divisions and the U.S. Trustee Program Before the H. Comm. on the Judiciary, 114th Cong. (May
19, 2015) (statement of Daniel Z. Epstein, Exec. Dir., CoA Inst.), http://coainst.org/2n7LxWG; C OA
INSTITUTE, 2015 GRADING THE GOVERNMENT REPORT CARD (Mar. 16, 2015), http://coainst.org/2as088a;
Hearing on Potential Reforms to the Freedom of Information Act (FOIA) Before the H. Comm. on Oversight &
        Case 1:19-cv-00778-CJN Document 20-3 Filed 08/19/19 Page 22 of 49
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are distributed to the public through various media, including the Institute’s website, Twitter, and
Facebook. CoA Institute also provides news updates to subscribers via e-mail.

        The statutory definition of a “representative of the news media” contemplates that
organizations such as CoA Institute, which electronically disseminate information and
publications via “alternative media[,] shall be considered to be news-media entities.” 8 In light of
the foregoing, numerous federal agencies have appropriately recognized the Institute’s news
media status in connection with its FOIA requests.9

        Record Preservation Requirement

        CoA Institute requests that the disclosure officer responsible for the processing of this
request issue an immediate hold on all records responsive, or potentially responsive, to this
request, so as to prevent their disposal until such time as a final determination has been issued on
the request and any administrative remedies for appeal have been exhausted. It is unlawful for
an agency to destroy or dispose of any record subject to a FOIA request. 10

        Record Production and Contact Information

        In an effort to facilitate document review, please provide the responsive documents in
electronic form in lieu of a paper production. If a certain portion of responsive records can be

Gov’t Reform, 114th Cong. (Feb. 27, 2015) (statement of Daniel Z. Epstein, Exec. Dir., CoA Inst.),
http://coainst.org/2lLsph8; Hearing on IRS: TIGTA Update Before the H. Comm. on Oversight & Gov’t
Reform, 114th Cong. (Feb. 26, 2015) (statement of Prashant K. Khetan, Chief Counsel, CoA Inst.),
http://coainst.org/2nn5iFJ; COA INSTITUTE, GRADING THE GOVERNMENT: HOW THE WHITE HOUSE TARGETS
DOCUMENT REQUESTERS (Mar. 18, 2014), http://coainst.org/2aFWxUZ.
8
  5 U.S.C. § 552(a)(4)(A)(ii)(II).
9
  See, e.g., FOIA Request F-133-18, U.S. Agency for Int’l Dev. (Apr. 11, 2018); FOIA Request 18-HQ-F-487,
Nat’l Aeronautics & Space Admin. (Apr. 11, 2018); FOIA Request 1403076-000, Fed. Bureau of Investigation
(Apr. 11, 2018); FOIA Request 201800050F, Exp.-Imp. Bank (Apr. 11, 2018); FOIA Request 2016-11-008,
Dep’t of the Treasury (Nov. 7, 2016); FOIA Requests OS-2017-00057 & OS-2017-00060, Dep’t of Interior
(Oct. 31, 2016); FOIA Request 2017-00497, Office of Personnel Mgmt. (Oct. 21, 2016); FOIA Request
092320167031, Ctrs. for Medicare & Medicaid Servs. (Oct. 17, 2016); FOIA Request 17-00054-F, Dep’t of
Educ. (Oct. 6, 2016); FOIA Request DOC-OS-2016-001753, Dept. of Commerce (Sept. 27, 2016); FOIA
Request 2016-366-F, Consumer Fin. Prot. Bureau (Aug. 11, 2016); FOIA Request F-2016-09406, Dept. of
State (Aug. 11, 2016); FOIA Request 2016-00896, Bureau of Land Mgmt. (Aug. 10, 2016); FOIA Request
796939, Dep’t of Labor (Mar. 7, 2016); FOIA Request 2015-HQFO-00691, Dep’t of Homeland Sec. (Sept. 22,
2015); FOIA Request HQ-2015-01689-F, Dep’t of Energy (Aug. 7, 2015); FOIA Request 2015-OSEC-04996-
F, Dep’t of Agric. (Aug. 6, 2015); FOIA Request 15-05002, Sec. & Exch. Comm’n (July 23, 2015); FOIA
Request 145-FOI-13785, Dep’t of Justice (Jun. 16, 2015); FOIA Request 2015-26, Fed. Energy Regulatory
Comm’n (Feb. 13, 2015).
10
    See 36 C.F.R. § 1230.3(b) (“Unlawful or accidental destruction (also called unauthorized destruction) means
. . . disposal of a record subject to a FOIA request, litigation hold, or any other hold requirement to retain the
records.”); Chambers v. Dep’t of the Interior, 568 F.3d 998, 1004-05 (D.C. Cir. 2009) (“[A]n agency is not
shielded from liability if it intentionally transfers or destroys a document after it has been requested under the
FOIA or the Privacy Act.”); Judicial Watch, Inc. v. Dep’t of Commerce, 34 F. Supp. 2d 28, 41-44 (D.D.C.
1998).
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produced more readily, CoA Institute requests that those records be produced first and the
remaining records be produced on a rolling basis as circumstances permit.

       If you have any questions about this request, please contact me by telephone at (202)
499-2422 or by e-mail at thomas.kimbrell@causeofaction.org. Thank you for your attention to
this matter.




                                                _____________________________________
                                                KEVIN SCHMIDT
                                                DIRECTOR OF INVESTIGATIONS
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                     EXHIBIT 2
          Case 1:19-cv-00778-CJN Document 20-3 Filed 08/19/19 Page 25 of 49




                                            February 18, 2019

VIA ELECTRONIC MAIL

Departmental Freedom of Information Officer
Office of Privacy and Open Government
14th and Constitution Avenue NW
Mail Stop 52010FB
Washington, DC 20230
E-mail: eFOIA@doc.gov

          Re:     Freedom of Information Act Request

Dear FOIA Officer:

        I write on behalf of Cause of Action Institute (“CoA Institute”), a 501(c)(3) nonpartisan
government oversight organization that uses investigative, legal, and communications tools to
educate the public about how government accountability, transparency, and the rule of law
protect individual liberty and economic opportunity. 1

       Pursuant to the Freedom of Information Act (“FOIA”), 5 U.S.C.§ 552, CoA Institute
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regulations provide that the agency shall furnish requested records without or at reduced charge
if “disclosure of the information is in the public interest because it is likely to contribute
significantly to public understanding of the operations or activities of the government and is not
primarily in the commercial interest of the requester.” 3 In this case, the requested records
unquestionably shed light on the “operations or activities of the government,” as they reveal the
reasoning behind increasing taxes on American consumers through tariffs.



1
    See CAUSE OF ACTION INSTITUTE, About, www.causeofaction.org/about/.
2
  Bureau of Industry and Security. Section 232 National Security Investigation: Imports of Automobiles and
Automotive Parts Survey, available at: https://www.bis.doc.gov/index.php/autos232 (last visited Feb. 15,
2019); Bureau of Industry and Security. Section 232 Investigations: The Effect of Imports on the National
Security, available at: https://www.bis.doc.gov/index.php/other-areas/office-of-technology-evaluation-
ote/section-232-investigations (last visited Feb. 15, 2019).
3
  5 U.S.C. § 552(a)(4)(A)(iii); see also Cause of Action v. Fed. Trade Comm’n, 799 F.3d 1108, 1115-19 (D.C.
Cir. 2015) (discussing proper application of public-interest fee waiver test).
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         CoA Institute has both the intent and ability to make the results of this request available
to a reasonably broad public audience through various media. Its staff has significant experience
and expertise in government oversight, investigative reporting, and federal public interest
litigation. These professionals will analyze the information responsive to this request, use their
editorial skills to turn raw materials into a distinct work, and share the resulting analysis with the
public, whether through the Institute’s regularly published online newsletter, memoranda,
reports, or press releases.4 In addition, as CoA Institute is a non-profit organization as defined
under Section 501(c)(3) of the Internal Revenue Code, it has no commercial interest in making
this request.

        Request To Be Classified as a Representative of the News Media

         For fee status purposes, CoA Institute also qualifies as a “representative of the news
media” under FOIA.5 As the D.C. Circuit recently held, the “representative of the news media”
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  See also Cause of Action, 799 F.3d at 1125-26 (holding that public interest advocacy organizations may
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Sec. Vilsack followed ethics guidelines when negotiating his future employment, (Feb. 3, 2017),
http://coainst.org/2mJljJe; COA INSTITUTE, INVESTIGATIVE REPORT: PRESIDENTIAL ACCESS TO TAXPAYER
INFORMATION (Oct. 2016), http://coainst.org/2d7qTRY; James Valvo, There is No Tenth Exemption (Aug. 17,
2016), http://coainst.org/2doJhBt; COA INSTITUTE, MEMORANDUM: LEGAL ANALYSIS OF FORMER SECRETARY
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http://coainst.org/2eXhXe1; CoA Institute, CIA too busy for transparency (Aug. 11, 2016),
http://coainst.org/2mtzhhP; Hearing on Revisiting IRS Targeting: Progress of Agency Reforms and
Congressional Options Before the Subcomm. on Oversight, Agency Action, Fed. Rights & Fed. Courts of the S.
Comm. on the Judiciary, 114th Cong. (Aug. 5, 2015) (statement of Erica L. Marshall, Counsel, CoA Inst.),
http://coainst.org/2mJC8DH; Hearing on Watchdogs Needed: Top Government Investigator Positions Left
Unfilled for Years Before the S. Comm. on Homeland Sec. & Gov’t Affairs, 114th Cong. (June 3, 2015)
(statement of Daniel Z. Epstein, Exec. Dir., CoA Inst.), http://coainst.org/2mrwHr1; Hearing on Ongoing
Oversight: Monitoring the Activities of the Justice Department’s Civil, Tax and Environmental and Natural
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are distributed to the public through various media, including the Institute’s website, Twitter, and
Facebook. CoA Institute also provides news updates to subscribers via e-mail.

        The statutory definition of a “representative of the news media” contemplates that
organizations such as CoA Institute, which electronically disseminate information and
publications via “alternative media[,] shall be considered to be news-media entities.” 8 In light of
the foregoing, numerous federal agencies have appropriately recognized the Institute’s news
media status in connection with its FOIA requests.9

        Record Preservation Requirement

        CoA Institute requests that the disclosure officer responsible for the processing of this
request issue an immediate hold on all records responsive, or potentially responsive, to this
request, so as to prevent their disposal until such time as a final determination has been issued on
the request and any administrative remedies for appeal have been exhausted. It is unlawful for
an agency to destroy or dispose of any record subject to a FOIA request. 10


Resources Divisions and the U.S. Trustee Program Before the H. Comm. on the Judiciary, 114th Cong. (May
19, 2015) (statement of Daniel Z. Epstein, Exec. Dir., CoA Inst.), http://coainst.org/2n7LxWG; C OA
INSTITUTE, 2015 GRADING THE GOVERNMENT REPORT CARD (Mar. 16, 2015), http://coainst.org/2as088a;
Hearing on Potential Reforms to the Freedom of Information Act (FOIA) Before the H. Comm. on Oversight &
Gov’t Reform, 114th Cong. (Feb. 27, 2015) (statement of Daniel Z. Epstein, Exec. Dir., CoA Inst.),
http://coainst.org/2lLsph8; Hearing on IRS: TIGTA Update Before the H. Comm. on Oversight & Gov’t
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  5 U.S.C. § 552(a)(4)(A)(ii)(II).
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Dep’t of the Treasury (Nov. 7, 2016); FOIA Requests OS-2017-00057 & OS-2017-00060, Dep’t of Interior
(Oct. 31, 2016); FOIA Request 2017-00497, Office of Personnel Mgmt. (Oct. 21, 2016); FOIA Request
092320167031, Ctrs. for Medicare & Medicaid Servs. (Oct. 17, 2016); FOIA Request 17-00054-F, Dep’t of
Educ. (Oct. 6, 2016); FOIA Request DOC-OS-2016-001753, Dept. of Commerce (Sept. 27, 2016); FOIA
Request 2016-366-F, Consumer Fin. Prot. Bureau (Aug. 11, 2016); FOIA Request F-2016-09406, Dept. of
State (Aug. 11, 2016); FOIA Request 2016-00896, Bureau of Land Mgmt. (Aug. 10, 2016); FOIA Request
796939, Dep’t of Labor (Mar. 7, 2016); FOIA Request 2015-HQFO-00691, Dep’t of Homeland Sec. (Sept. 22,
2015); FOIA Request HQ-2015-01689-F, Dep’t of Energy (Aug. 7, 2015); FOIA Request 2015-OSEC-04996-
F, Dep’t of Agric. (Aug. 6, 2015); FOIA Request 15-05002, Sec. & Exch. Comm’n (July 23, 2015); FOIA
Request 145-FOI-13785, Dep’t of Justice (Jun. 16, 2015); FOIA Request 2015-26, Fed. Energy Regulatory
Comm’n (Feb. 13, 2015).
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    See 36 C.F.R. § 1230.3(b) (“Unlawful or accidental destruction (also called unauthorized destruction) means
. . . disposal of a record subject to a FOIA request, litigation hold, or any other hold requirement to retain the
records.”); Chambers v. Dep’t of the Interior, 568 F.3d 998, 1004-05 (D.C. Cir. 2009) (“[A]n agency is not
shielded from liability if it intentionally transfers or destroys a document after it has been requested under the
FOIA or the Privacy Act.”); Judicial Watch, Inc. v. Dep’t of Commerce, 34 F. Supp. 2d 28, 41-44 (D.D.C.
1998).
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       Record Production and Contact Information

        In an effort to facilitate document review, please provide the responsive documents in
electronic form in lieu of a paper production. If a certain portion of responsive records can be
produced more readily, CoA Institute requests that those records be produced first and the
remaining records be produced on a rolling basis as circumstances permit.

        If you have any questions about this request, please contact me by telephone at (202)
499-2422 or by e-mail at kevin.schmidt@causeofaction.org. Thank you for your attention to this
matter.




                                                 _____________________________________
                                                 KEVIN SCHMIDT
                                                 DIRECTOR OF INVESTIGATIONS
Case 1:19-cv-00778-CJN Document 20-3 Filed 08/19/19 Page 29 of 49




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Case 1:19-cv-00778-CJN Document 20-3 Filed 08/19/19 Page 30 of 49
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                     EXHIBIT 5
  Case 1:19-cv-00778-CJN Document 20-3 Filed 08/19/19 Page 34 of 49


                                                     UN:TED STATES DEPARTMENT OF CCMMERCE
                                                     Chief Financia1 0fficer and
                                                      Assistant Secretary for Administration
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                                                     い′               C 20230
June 13,2019

Kevin Schnlidt
Director of lnvestigations
Cause ofAction lnstitute
1875 Eyc Street,NW
Suite 800
Washington,DC 20006

Rc:    Frcedom of lnfollllation Request DOC‐ IOS-2019-000827
        Freedoln of lnfollllation Rcqucst DOC¨ BIS-2019-000742

Dear   Mr. Schmidt:

This letter is in further response to your above-referenced Freedom of Information
(FOIA) requests to the Department of Commerce @OC) and the Bureau of Industry &
Security (BIS), respectively, both of which were received February 18, 2019. [n both of
these FOIA requests, you requested:
A copy of the Commerce Secretary's final report to the President regarding Section 232
National Security Investigation of Imports of Automobiles, Including Cars, SUVs, Vans
and Light Trucks, and Automotive Parts.

Please see the attached presidential proclamation dated   May   I7,   2019, which provides a
summary of the findings in the Secretary's report.

We are currently reviewing, in conjunction with the Executive Office of the President,
whether the Secretary's report constitutes a presidential record within the meaning of the
Presidential Records Act, 44 U.S.C. 2201 et seq., in which case it would not be subject to
disclosure under FOIA. However, to the extent that the Secretary's Section 232 reportto
the President of the United States may constitute an agency record within the meaning of
FOIA, DOC and BIS are withholding it in full pursuant to 5 U.S.C. $ 552(bX5), which
exempts from disclosure inter-agency or intra-agency memorandums or letters which
would not be available by law to a party other than an agency in litigation with the
agency. The report, if an agency record, would be exempted from disclosure under FOIA
pursuant to the presidential communications privilege and/or the deliberative process
privilege, until all actions deemed necessary to adjust the imports of automobiles and
automobile parts so that such imports will not threaten to impair the national security
have been completed. See l5 C.F.R. $ 705.1l.

Although we are aware that this matter is already in litigation, we are required to notify
you that if you are dissatisfied with this determination, you have the right to file an
administrative appeal if you are not satisfied with our response to your FOIA request. All
appeals should include a statement of the reasons why you believe the FOIA ..rponr.
was not satisfactory. An appeal based on documents in this release must be received
within 90 calendar days of the date of this response letter at the following address:
    Case 1:19-cv-00778-CJN Document 20-3 Filed 08/19/19 Page 35 of 49




Kevin Schmidt
DOC-IOS-20 I 9-000827 and
  DOC-BIS-2019-000742
Page2

        Assistant General Counsel for Employment, Litigation, and Information
        U.S. Department of Commerce
        Office of General Counsel, Room 5896
        1401 Constitution Ave. NW,
        Washington,DC 20230

An appeal may also be sent by e-mail to FOlAAppeals@doc.gov, or by FOlAonline at
https ://foiaonl ine.regu lations. gov/foia/action/public/home#.

For your appeal to be complete, it must include the following items:
.       a copy of the original request,
.       our response to your request,
.       a statement explaining why the withheld records should be made available, and
why the denial of the records was in error, and
.       "Freedom of Information Act Appeal" must appear on your appeal letter. It should
also be written on your envelope, or e-mail subject line.

FOIA appeals posted to the e-mail box, FOIAonline, or Office after normal business
hours will be deemed received on the next business day. If the 90th calendar day for
submitting an appeal falls on a Saturday, Sunday or legal public holiday, an appeal
received by 5:00 p.m., Eastern Time, the next business day will be deemed timely.

Again, although we are aware this matter is in litigation, we are required to inform you
that FOIA grants requesters the right to challenge an agency's final action in federal
court. Before doing so, an adjudication of an administrative appeal is ordinarily required.

The Office of Government lnformation Services (OGIS), an office created within the
National Archives and Records Administration, offers free mediation services to FOIA
requesters. Its contact information is:

        Office of Government Information Services
        National Archives and Records Administration
        8601 Adelphi Road, Room 2510
        College Park, MD 20740-6001
        Email: ogis@nara.gov
        Phone: 301-837-1996
        Fax:301-837-0348
        Toll-free: 1 -877 -684-6448

Because these requests are in litigation in Cause of Action v. DoC (D.D.C. No. l9-cv-
778), if you have questions regarding this correspondence, please contact Ms. Melanie
 Case 1:19-cv-00778-CJN Document 20-3 Filed 08/19/19 Page 36 of 49




Kevin Schnlidt
DOC― IOS-2019‐ 000827 and
  DOC― BIS-2019-000742
Pagc 3

Hendry,Assistant U.S.AttoⅡ ley and counsel ofrecord for DOC in this matter,at
mehnie.hendry2@usdq・ gOV,or by phonc at(202)252… 2510.

Sincerely,


ROBERttA:出精:熙黒s
                                   -
PA RS O N S ?;,:";,i3l3f:J
Bobbie Parsons
FOIA Officer, Immediate Office of the Secretary
Office of Privacy and Open Government
U.S. Department of Commerce

Enclosure:
       One   (l)   document Six (6) pages
Case 1:19-cv-00778-CJN Document 20-3 Filed 08/19/19 Page 37 of 49




                     EXHIBIT 6
Case 1:19-cv-00778-CJN Document 20-3 Filed 08/19/19 Page 38 of 49
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                     EXHIBIT 7
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 3. Reporting                                               parental status, income derived from      a         Expansion Act of 1962, as amended.
   After grant approval and through                         public assistance program, political                Interested parties are invited to submit
grant completion, you will be required                       beliefs, or reprisal or retaliation for prior written comments, data, analyses, or
to provide the following:                                    civil rights activity, in any program or           other information pertinent to the
   a. An SF-425, "Federal Financial
                                                             activity conducted or funded by USDA               investigation to the Department of
                                                              (not all bases apply to all programs).            Commerce by |une 22, 201,8. Rebuttal
Report," and a project performance
report will be required on a semiannual                      Remedies and complaint filing                      comments will be due by fuly 6, 2018.
basis (due 30 working days after end of
                                                             deadlines vary by program or incident.             The Department of Commerce will also
                                                                Persons with disabilities who require           hold a public hearing on the
the semiannual period). The project
                                                             alternative means of communication for investigation on fuly 19 and 20,2O7B in
performance reports shall include the
                                                             program information (e.g., Braille, large          Washington, DC. This notice identifies
following: A comparison of actual
                                                             print, audiotape, American Sign                    the issues on which the Department is
accomplishments to the objectives
                                                             Language, etc.) should contact the                 interested in obtaining the public's
established for that period;
                                                             responsible Agency or USDA's TARGET views. It also sets forth the procedures
  b. Reasons why established objectives
                                                             Center at (2O2) 720-2600 (voice and                for public participation in the hearing.
were not met, if applicable;
                                                             TTY) or contact USDA through the                   DATES: The due date for filing
  c. Reasons for any problems, delays,
                                                             Federal Relay Service at (800) 877-8339. comments, for requests to appear at the
or adverse conditions, if any, which
                                                             Additionally, program information may public hearing, and for submissions of
have affected or will affect attainment of
                                                             be made available in languages other              a summary of expected testimony at the
overall project obiectives, prevent                          than English.
meeting time schedules or objectives, or                                                                        public hearing is fune 22.201.8.
                                                                To file a program discrimination                   The due date is July 6, 2018 for
preclude the attainment of particular                        complaint, complete the USDA Program rebuttal comments submitted in
objectives during established time                          Discrimination Complaint Form, AD-
periods. This disclosure shall be                                                                              response to aly comments filed on or
                                                             3027, found online at http://                     before fune 22,201,8.
accompanied by a statement of the                            www.ascr.u s da. gov / c o mplai nt Ji lin g_
action taken or planned to resolve the                                                                             The public hearings will be held on
                                                             cust.html and at any USDA office or               fuly 19 and 20, 2018. The hearings will
situation; and                                              write a letter addressed to USDA and
  d. Objectives and timetable                                                                                  begin at 8:30 a.m. local time and
                                                            provide in the letter all ofthe                    conclude at 5:00 p.m. Iocal time, each
established for the next reporting                          information requested in the form. To
period.                                                                                                        d"y.
                                                            request a copy of the complaint form,              ADDRESSES: Written comments: AII
  e. Provide       a   final proiect and financial          call (866) 632-9992. Submit your
status report      within    60 days after the                                                                 written submissions must be in English
                                                            completed form or letter to USDA by:               and must be addressed to Section 232
expiration or termination of the grant.                         (1.) Mail: U.S. Department of
  f. Provide outcome project                                                                                   Automobile and Automotive Parts
                                                            Agriculture, Office of the Assistant
performance reports and final                                                                                  Imports Investigation, and filed through
                                                            Secretary for Civil Rights, 1400
deliverables.                                                                                                  the Federal eRulemaking Portal: http://
                                                            Independence Avenue SW, Washington,
                                                                                                               www.re gul atio n s. gov. To submit
G.   Agency Contacts                                        DC 20250-9410;
                                                                (2) Fax: (2o2) 69o-7442i ot                    comments     via www.regulations.gov,
     If you have questions about this                           (3) Email : program.intake@usda.gov.           enter docket number DOC-2018-00O2
Notice, please contact the appropriate                                                                         on the home page and click "search."
                                                                Dated: May 22,2078.                            The site will provide a search results
State Office at http :/ /www.rd.u s da. gov/
c o ntact-u s / state -oft'ic e s. Program
                                                            Bette B. Brand,                                    page listing all documents associated
guidance as well as application and                         Ad mi nistrato r, fl urol Busrness -Co o perative with this docket. Find a reference to this
                                                            Seruice.                                           notice and click on the link entitled
matching funds templates may be
obtained at http :/ /vvtvw.rd.us da.gov/                    [FR Doc. 2018-11482 Filed 5-29-18; 8:45 am]        "Comment Now!" (For further
p ro grams    - s erv ic e s / ru ral- c o o p erative -
                                                            BILLING CODE 341(FXY-P                             information on using
d evel o p   me nt- gra nt- p ro gram. If you want                                                             www.regul ation s. gov, please consult the
to submit an electronic application,                                                                          resources provided on the website by
follow the instructions for the RCDG                        DEPARTMENT OF COMMERCE                            clicking on "How to Use This Site" on
funding announcement located at http://                                                                       the Ieft side of the home page). For
www.grants.goy. You may also contact                        Notice of Request for Public                      alternatives to on-line submissions,
National Office staff: Natalie Melton,                      Comments and Public Hearing on                    please contact Sahra Park-Su at(2O2)
RCDG Program Lead, natalie.melton@                          Section 232 National Security                      482-281L.
wdc.usda.gov, or call the main line at                      lnvestigation ol lmports of                           Hearings: The public hearings will be
202-690-1,374.                                             Automobiles, lncluding Cars, SUVs,                 held in the Department of Commerce's
                                                           Vans and Light Trucks, and                         auditorium at 1401 Constitution Avenue
H. Nondiscrimination Statement                             Automotive Parts                                   NW, Washington, DC ZO2S0.
   In accordance with Federal civil                        AGENCY: U.S. Department of Commerce.               FOR FURTHER INFORMATION CONTACT:
rights law and U.S. Department of                                                                             Sahra Park-Su, U.S. Department of
                                                           ACTION: Notice of request for public
Agriculture (USDA) civil rights                                                                               Commerce (202) 4BZ-ZBI1. For more
regulations and policies, the USDA, its                    comments and public hearing.
                                                                                                              information about the section 232
Agencies, offices, and employees, and                      SUMMARY: On May ZJ,2O1B, the                       program, including the regulations and
institutions participating in or                           Secretary of Commerce initiated an                 the text ol-previous investigations, see
administering USDA programs are                            investigation to determine the effects on www.bis.doc.gov/232.
prohibited from discriminating based on                    the national security of imports of
race, color, national origin, religion, sex,                                                                  SUPPLEMENTAHY INFORMATION:
                                                           automobiles, including                Sfrvr, uun,
gender identily (including gender                                                          "*i,
                                                           and light trucks, and a-utomotive           palts. Background
expression), sexual orientation,                           This investigation has been initiaied
disability,                                                                                                       On May 23,201.8, the Secretary of
               age,    marital status, family/             under section 232 ofthe Trade                      ^
                                                                                                              Commerce     ("Secretary,,) initiated an
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investigation under section 232 ofthe         causing substantial unemployment,               Any page containing business
Trade Expansion Act of 1962, as               decrease in the revenues of government,        confidential information must be clearly
amended (19 U.S.C. 1862), to determine        loss of investment or specialized skills       marked "BUSINESS CONFIDENTIAL"
the effects on the national security of       and productive capacity, or other              on t}le top of that page. The file name
imports of automobiles, including cars,       serious effects;                               of the non-confidential version should
SffVs, vans and light trucks, and                r Relevant factors that are causing or      begin with the character "P". The "BC"
automotive parts. If the Secretary finds      will cause a weakening of our national         and "P" should be followed by the
that automobiles and/or automotive            economy;                                       name of the person or entity submitting
parts are being imported into the United         . The extent to which innovation in         the comments or rebuttal comments.
States in such quantities or under such       new automotive technologies is                 Filers submitting comments containing
circumstances as to threaten to impair        necessary to meet projected national           no business confidential information
the national security, the Secretary shall    defense requirements;                          should name their file using the name
recommend actions and steps that                 o Whether and, if so, how the               of the person or entity submitting the
should be taken to adjust automobile          analysis ofthe above factors changes           comments.
and/or automotive parts imports so that       when U.S. production by majority U.S.-           Communications from agencies of the
they will not threaten to impair the          owned firms is considered separately           United States Government will not be
national security.                            from U.S. production by majority               made available for public inspection.
                                              foreign-owned firms; and                       Please note that the submission of a
Written Comments                                 o Any other relevant factors.               summa-ry of expected testimony at the
   This investigation is being undertaken     Additional Requirements for Written            public hearing is separate from the
in accordance with part 705 of the            Comments                                       submission of other rrritten comments
National Security Industrial Base                                                            and should be submitted separately.
Regulations (15 CFR parts 700 to 709)           The www.   re gulofions.gov   website
                                              allows users to provide comments by            Public Hearing
("NSIBR"). Interested parties are invited
to submit r,tnitten comments, data,           filling in a "Type Comment" field, or by          Consistent with the interest of the
analyses, or information pertinent to          attaching a document using an "Upload         U.S. Department of Commerce in
this investigation to the U.S.                 File" field. The Department prefers that      soliciting public comments on issues
Department of Commerce by lrr,e 22,            comments be provided in an attached           affecting U.S. industry and national
2018. Rebuttal comments submitted in           document. The Department prefers              security, the Department is holding a
response to comments received on or            submissions in Microsoft Word (.doc) or       public hearing as part of the
before fune 22, 201,8 may be filed no          Adobe Acrobat (.pdfl. If the submission       investigation. The hearing will further
 later than fuly 6, 2018.                      is in an application other than those         assist the Department in determining
    The Department is particularly             two, please indicate the name of the          whether imports of automobiles and
 interested in comments and information        application in the "Type Comment"             automotive parts threaten to impair the
 directed to the criteria listed in S 705.4    field. Please do not attach separate cover    national security and in recommending
 of the NSIBR as they affect national          letters to electronic submissions; rather,    remedies if such a threat is found to
 security, including the following:            include any information that might            exist. Public comments at the hearing
    . The quantity and nature of imports       appear in a cover letter in the comments      should address the criteria listed in
 of automobiles, including cars, SfIVs,        themselves. Similarly, to the extent          S 705.4 of the NSIBR as they affect
 vans and light trucks, and automotive         possible please include any exhibits,         national security described above.
 parts and other circumstances related to      annexes, or other attachments in the            The hearing will be held on fuly 19
 the importation of automobiles and            same file as part of the submission itself    and 20, 2018 at the U.S. Department of
 automotive parts;                             rather than in seoarate files.                Commerce auditorium, 1401
    o Domestic production needed for              Comments wifl be placed in the             Constitution Avenue NW, Washington,
 projected national defense                    docket and open to public inspection,         DC 2O23O. The hearing will begin at
requirements;                                  except confidential business                  8:30 a.m. Iocal time and conclude at
    o Domestic production and                  information. Comments may be viewed           5:00 p.m. locai time, each day.
productive capacity needed for                 orr r4lww.regulations.gov by entering
automobiles and automotive pa-rts to           docket number DOC-2018-0002 in the             Procedure for Requesting Participation
meet proiected national defense                search field on the home oase.                    The Department encourages interested
requirements:                                     Material that is busines's cionfidential    public participants to present their
    . The existing and anticipated             information will be exempted lrom              views orally at the hearing. Any person
availability of human resources,              public disclosure as provided for by            wishing to make an oral presentalion at
products, raw materials, production            S 705.6 of the regulations. Anyone             the hearing must submit a mritten
equipment, and facilities to produce          submitting business confidential                request to the Department of Commerce
automobiles and automotive parts;             information should clearly identify the         by fune 22,201,8. The request to appear
   o The growth requirements^ of the          business confidential portion of the            must include a summary of the expected
automobiles and automotive parts              submission, then file a statement               testimony, and may also be
industry to meet national defense             justifying- nondisclosure and referring to      accompanied by additional material.
requirements and/or requirements to           the specific legal authority claimed, ind      Remarks at the hearing may be limited
assure such growth, particularly with         provide a non-confidential version of           to five minutes to alloiry foi possible
respect to investment and research and        the submission which can be placed in          questions from U.S. government
development;                                  the public file on http://                     representatives.
   .
     -The impact oI foreign competition       www.regulations.gov.                              All submissions must be in English
on the economic wellare of the U.S.              For comments iubmitted                      and sent electronically via
automobiles and automotive parts              elec-Lronical ly containing business           www.regulations.gov. To submit a
industry;                                     confidential information-, the file name
  . The dispiacement of any domestic                                                         request to appear at the hearing via
                                              of the business confidential version           www. regu I at i o ns.gov, en ter doiket
automobiles and automotive parts              should begin with the characters ,,8C,,.       number DOC-2018-0002. In lhe ,.Type
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Comment" field, include name, address,       Conduct of the Hearing                        value (LTFV). The period of
email address, and telephone number of          The Department reserves the right to       investigation (POI) is April 1, 2016,
the person presenting the testimony, as      select the persons to be heard at the         through March 31,2017.
well as the organization or company          hearing, to schedule their respective         DATES: Applicable May 30, 2018.
that they represent. Attach a summary        presentations, and to establish the           FOR FURTHER ]NFORMATION CONTACT:
of the testimony, and pre-hearing            procedures governing the conduct ofthe        Patrick O'Connor, AD/CVD Operations,
submission if provided, by using the         hearing. Each speaker may be limited to       Office IV, Enforcement and Compliance,
"Upload File" field. The file name           5 minutes, and comments must be               International Trade Administration,
should include the name of the person        directly related to the criteria listed in    U.S, Department of Commerce, 1401
who will be presenting the testimony.        15 CFR 705.4 of the regulations.              Constitution Avenue NW, Washington,
  The request to speak should include        Attendees will be seated on a first-come,     DC 20230; telephone: (202) 482-OSBS.
(r) the name and address of the person       first-served basis.                           SUPPLEMENTARY INFORMATION            :
requesting to make a presentation; (2) a        A Department official will be
daytime phone number where the                                                             Background
                                             designated to preside at the hearing. The
person who would be making the oral          presiding officer shall determine all            On January 5, 201,8, Commerce
presentation may be contacted before         procedural matters during the hearing.        published lhe Prel im inary
the hearing; (s) the organization or         Representatives from the Department,          Determination of this antidumping duty
company they represent; and (4) an           and other U.S. Government agencies as         investigation, as provided by section
email address.                               appropriate, will make up the hearing         735 of the Tariff Act of t930, as
    Please note that the submission of a     panel. This will be a fact-finding            amended (the Act). Commerce
 summtrry of expected testimony at the       proceeding; it will not be a judicial or      preliminarily found that fine denier PSF
 public hearing is separate from the         evidentiary-type hearing. Only members        from India was sold at LTFV.I A
 request for written comments. Since it      of the hearing panel may ask questions,       summary of the events that have
 may be necessily to limit the number of     and there will be no cross-examination        occurred since Commerce published the
 persons making presentations, the           of persons presenting statements.             Preliminary Determination, as well as a
 written request to participate in the       However, questions submitted to the           full discussion of the issues raised by
 public hearing should describe the          presiding officer in writing may, at the      interested parties for this final
 individual's interest in the hearing and,   discretion ofthe presiding officer, be        determination, may be found in the
 where appropriate, explain why the          posed to the presenter. No formal rules       Issues and Decision Memorandum.2 The
 individual is a proper representative of    of evidence will apply to the hearing.        Issues and Decision Memorandum is a
 a group or class of persons that has such     Any further procedural rules for the        public document and is on file
 an interest. If all interested parties      proper conduct of the hearing will be         electronically yia Enforcement and
 cannot be accommodated at the hearing,      announced by the presiding officer.           Compliance's Antidumping and
 the summaries of the oral presentations                                                   Countervailing Duty Centralized
                                             Special Accommodations
will be used to allocate speaking time                                                     Electronic Service System (ACCESS).
 and to ensure that a full range of             This meeting is physically accessible      ACCESS is avaiiable to registered users
 comments is heard.                          to people with disabilities. Requests for     at https://access.trade.gov, and to all
    Each person selected to make a           sign language interpretation or other         parties in the Central Records Unit,
presentation will be notified by the         auxiliary aids should be received by the      room B8024 of the main Department of
Department of Commerce no later than         Department of Commerce no later than          Commerce building. In addition, a
 8:00 p.m, Eastern Daylight Time on luly     Jtne 22,2018 by contacting the                complete version of the Issues and
 1,2, 201,8. The Department will Errrange    Department of Commerce official               Decision Memorandum can be accessed
the presentation times for the speakers.     identified in this Notice.                    directly at http : / / e nfo rc e me nt.tra de. gov /
Persons selected to be heard are               Dated: May 24,2078.                         [r"/.
requested to bring 20 copies of their oral   Wilbur L. Ross,                                  Commerce has exercised its discretion
presentation and of all exhibits to the                                                    to toll deadlines for the duration of the
                                             Secretary of Commerce.
hearing site on the day of the hearing.                                                    closure of the Federal Government from
                                             [FR Doc. 2018-11708 Filed 5-25-18; 4:15 pm]
All such material must be of a size                                                        |anuary 20 through 22, zO'i.8. The
                                             BILLING CODE P
consistent with ease of handling,                                                          revised deadline for the final
transportation and filing. While large                                                     determination in this investigation is
exhibits may be used during a hearing,                                                     now May 23,20').8.3
                                             DEPARTMENT OF COMMERCE
copies of such exhibits in reduced size
                                                                                              1 See Fine Denier Polyester
must be provided to the hearing panel.       lnternational Trade Administration                                            Staple Fiber from
                                                                                           India : Preliminary Affirmative Determination of
Written submissions by persons not                                                          SaJes ol less Than Fair Value, Postponement of
selected to make presentations will be       lA-533-€7sl                                    Final Determination, and Extension of Provisional
made part of the public record of the                                                      Measures 83 FR 662 (January S, 2O1B), and
                                             Fine Denier Polyester Staple Fiber            accompanyhg Preliminuy Decision Memorandum
proceeding. Confidential business
                                             From lndia: Final Affirmative                 (collectively, Preliminory Determination).
information may not be submitted at a
                                             Determination of Sales at Less Than              2 See Memorandm, "Fine
                                                                                                                          Denier Polyester
public hearing. In the event confidential
                                             Fair Value                                    Staple Fiber from India: Issues and Decision
business information is submitted it will                                                  Memorandum for the Final Affimative
be handled according to the same             AGENcY: Enforcement and Compliance,           Determination in the Less Than Fair Value.,' dated
procedures applicable to such                International Trade Administration,           concumently with, ald hereby adopted by, this
                                                                                           notice (lssues and Decision Memorandum).
information provided in the course of an     Department of Commerce.                          3 See Memorandm
                                                                                                                   for The Record from
investigation. See 15 CFR 705.6. The         SUMMARY: The Department of Commerce           Christian Mush, Deputy Assistant Secretary for
hearing will be recorded.                    (Commerce) determines that fine denier        Enforcemmt and Compliance. perlorming the non-
   The transcript of the hearing will be     polyester staple fiber (fine denier PSF)      exclusive functions and duties-of the Ass"istant
available ot wvw. rcgul ations.gov in        Iiom India is being, or is likely to be,      Secretary for Enforcement and Compliance,
                                                                                           "Deadlines Affected by the Shutdown of the
docket number DOC-201 8-0002.                sold in the United States at leis than fair
                                                                                                                                      Continued
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                     EXHIBIT 8
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Case 1:19-cv-00778-CJN Document 20-3 Filed 08/19/19 Page 47 of 49
Case 1:19-cv-00778-CJN Document 20-3 Filed 08/19/19 Page 48 of 49
Case 1:19-cv-00778-CJN Document 20-3 Filed 08/19/19 Page 49 of 49
